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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   INDIANA PROTECTION AND ADVOCACY     )
   SERVICES COMMISSION,                )
   E. R.,                              )
   G. S.,                              )
                                       )
                        Plaintiffs,    )
                                       )
                     v.                )                      No. 1:24-cv-00833-TWP-TAB
                                       )
   INDIANA FAMILY AND SOCIAL SERVICES  )
   ADMINISTRATION,                     )
   SECRETARY OF THE INDIANA FAMILY AND )
   SOCIAL SERVICES ADMINISTRATION,     )
   DIRECTOR OF THE DIVISION OF         )
   DISABILITY AND REHABILITATIVE       )
   SERVICES,                           )
                                       )
                        Defendants.    )

                                 ORDER FOR EXPEDITED RESPONSE

          This matter is before the Court on Plaintiffs' Motion for Stay in the Form of Injunction

   Pending Appeal or, in the Alternative, for Administrative Stay (Filing No. 64). To facilitate an

   expedited ruling on the motion, Defendants are to file any response brief no later than September

   27, 2024.

          IT IS SO ORDERED.

          Date:    9/20/2024




   Distribution:

   Samuel Mark Adams
   Indiana Disability Rights
   samadams@indianadisabilityrights.org
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   Thomas E. Crishon
   Indiana Disability Rights
   tcrishon@indianadisabilityrights.org

   Matthew Richard Elliott
   FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
   matthew.elliott@faegredrinker.com

   Melinda Hudson
   Faegre Drinker Biddle & Reath LLP
   melinda.hudson@faegredrinker.com

   Ryan Michael Hurley
   FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
   ryan.hurley@Faegredrinker.com

   Harmony A. Mappes
   FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
   harmony.mappes@faegredrinker.com

   Stevie J. Pactor
   ACLU OF INDIANA
   spactor@aclu-in.org

   Gavin Minor Rose
   ACLU OF INDIANA
   grose@aclu-in.org
